                                    Case 2:22-cv-01930-MSG Document 1 Filed 05/17/22 Page 1 of 9
JS44 (Rev. 10/20)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the informalion contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court This form,approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk ofCourt for the
purpose of initiating the civil docket sheet (SEE INSTRUCTIONSON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS.                                                                     DEFENDANTS
                                 STEPHEN HOPKINS                                                                        UNITED STATES POSTAL SERVICE          &     UNITED STATES OF AMERICA
                                                                                                                        6150 N BROAD STREET                         DEPARTMENT OF JUSTICE
                                 6231 N. 16TH STREET                                                                    PHILADELPHIA, PA 19141                      10TH & CONSTITUTIONAL AVENUE NW
                                 PHILADELPHIA, PA 19141                                                                                                             WASHINGTON, DC 20530


   (b) County of Residence of First Listed Plaintiff                 P HILAD ELPHIA                             County of Residence of First Listed Defendant PHILADELPHIA
                                 (EXCEPTIN U.S PLAINTIFF CASFJi)                                                                       (IN as PUINTIFF CASES ONLY)
                                                                                                                NOTE:       IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

   (c) Attorneys(Firm Name. Address, and TeU/dtone Niunher)                                                      Attonwys (if Known)
         MATKOFF & SHENGOLD
         DAVID S. BERMAN, ESQUIRE
         1101 MARKET STREET,SUITE 2500, PHILADELPHIA, PA 19107
         (215)922-6073
IL BASIS OF JURISDICTION                                    an "X"inOne BoxOnfy)                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" In One Boxfor Plaintiff
                                                                                                             (For Di versity Cases Only)                                      and One Boxfor Defendant)
                                               Federal Question                                                                         PTF        DEF                                                PTF        DEF
□ » U.S. Govcnuneni                   I |3
          Plaintiff                              (U.S GovemmenI Not a Party)                          CitizenofThis State               Q1        I I 1    Incorporated or Prindpal Place             0 4     04
                                                                                                                                                              of Business In This Slate


   2   U.S. Govcnuneni                n4 Diversity                                                    Citizen of Another Slate          □2        □ 2      Incorporated and Principal Place           □ 5     Qs
          Defendant                               (Indicate Citizenship ofPartie-t in hem III)                                                                of Business In Another State

                                                                                                      Citizen or Subject of a           □3        □ 3 Foreign Nation                                  □ 6     Qb
                                                                                                          ForeiBn Country
                                                                                                                                           Click here for: Nature of S ill Code Oescrll oltons.
          CONTRACT                                                  TORTS                                 FORFEITURE/PENALTV                        BANKRUPTCY                                 ATUTES
                                                                                                                                                                                        OTHERSTATUTES                  1
   no Insurance                         PERSONAL INJURY                   PERSONAL INJURY             ^625 Drug Related Sdzure                   422 Appeal 28 USCI58                 375 False Gaims Act
   120 Marine
   130 Miller Act
                                     ^ 310 Airplane
                                     "n 3IS Airplane Product
                                                                      l~l 365 Personal Injury -
                                                                               Product Liability
                                                                                                              of Property 21 USC88i
                                                                                                      3690 Other
                                                                                                                                            a    423 Withdrawal
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   140 Negotiable Instrument                   Liiiblliiy             □ 367 Health Care/                                                                                              400 Stale Reapportionmcnl
   I SO Recovery of Overpaymeni        1320 Assault, Libel &                  Phaimaceuiical                                                     PROPERTY RIGHTS                      410 Antitrust
        & Enforcemetit of Judgment             Slander                        Personal Injury                                                    820 Copyrights                       430 Banks and Banking
0IS1   Medicare Act
   132 Recovery of Defaulted
                                     "n 330 Federal Employers'
                                               Liability
                                                                              Product Liability
                                                                      r~l 368 Asbestos Personal
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        Student Loans
        (Exdudea Veterans)
                                     3340 Marine
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       of Veteran's Benefits         n 3S0 Motor Vdiicte              E 370 Other Fraud
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                                                                                                      3710 Fair Udw Standards                        Act of 2016                          (ISUSC168i orl692)
   160 Stockholders' Suits           ^ 355 Motor Vehicle                  371 Truth in Lending                Act                                                                     485 Telephone Consumer
   190 Other ConttBd                         Product Liabiliiy        Q 380 Other Persona]            3720 Labor/Management                       soaALSECumfT                            Protection Act
   195 Contract Product Lidiility       360 Other Personal                    Property Damage                 Relations                          861 HIA (139511)                     490 Cable/Sat TV
   196 Franchise                             Injury                   n 385 Properly Damage           3740 Railway Labor Act                     862 Black Lung (923)                 850 Securities/Commodities/
                                     ^ 362 Personal Injury •                  Product Liability       3751 Family and Medical                    863 DIWC/DIWW (405(g))                   Exchange
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                                                                                                              Leave Act


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   210 Land Condemnatioo                440 Other Civil Rights            HalKas Corpus:                                                                                              893 Environmental Matters
   220 Foreclosure                      441 Voting                    3 463 Alien Detainee                    Income Security Act                .RBDERATiTAXaDTTg                    895 Freedom of Information
   230 Rent Lease & Ejectment           442 Employment                3 III^ Motions to Vacate                                                   870 Taxes (U.S. Plaintiff                Act
   240 Torts to Land                    443 Housing/                          Sentence                                                               or Defendant)                    896 Arbitration
   245 Tort Product Liability                Accoramodalicns          3 «0 General                                                          3 871 IRS—Third Party                 g   899 Administrative Procedure
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   290 All Other Real Property       3 445 Amer. w/Disabilitics 3 333 Death Penalty                           IMMICftAliON                            26 use 7609
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V. ORIGIN (Place an "X" In One Box Only)
131 Original             Q2 Removed from                    □
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                                         Cite the U.S. Civil Statute under which you are r\\mg (Da not eluJarisdleiloHatstaiula unless Mverslty):
                                                                                                     i3HL
VI. CAUSE OF ACTION Brief description of cause:
                                                                                                                    I i'h/
VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                           DEMAND S                                     CHECK YES only if demanded in com^int:
        COMPLAINT:                               UNDER RULE 23. F,R.Cv.P.                                                                              JURY DEMAND:                    QYes           (3No
VIII. RELATED CAS£(S)
                                               (Eee instmaiorts):
        IF ANY                                                        JUDGE                                                                      DOCKET NUMBER

DATE                                                                      SIGNATURE OF A                     FRECO

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TOR OFFICE USE ONLY                                                                    -7
                                 AMOUNT                                       APPLYING IFP                                      JUDGE                               MAG. JUDGE
   RECEIPT#
        Case 2:22-cv-01930-MSG Document 1 Filed 05/17/22 Page 2 of 9




MATKOFF,SHENGOLD,BURKE,
BLYWEISS & ARBITTIER
By: David S. Berman
I.D.# 66913
dberinan@matkoffsliengold.com
Suite 2500
1101 Market Street
Philadelphia,PA 19107
(215)-922-6073                                                     Attorney for Plaintiff

                        IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA
STEPHEN HOPKINS
6231 N. 16"- Street
Philadelphia, PA 19141



UNITED STATES POSTAL SERVICE
6150 N. Broad Street
Philadelphia,PA 19141
&
UNITED STATES OF AMERICA
Department of Justice
lO*'^ & Constitutional Avenue NW
Washington, DC 20530

                                        COMPLAINT


 1. Jurisdiction is founded under the Federal Tort Claims Act, 28 U.S.C. Section 1346(b),

2. Defendant, the United States Postal Service(hereinafter "USPS"),is a federal agency

    governed by the laws and statutes ofthe United States of America.

3. The matter in controversy exceeds the sum of seventy-five thousand ($75,000.00) Dollars.

4. Not more than six(6) months prior to the filing ofthis action, the claims set forth herein

    were denied by USPS on March 18,2022.

5. Plaintiff, Stephen Hopkins ("Plaintiff), is an adult individual, citizen and resident ofthe

    Commonwealth ofPennsylvania, residing at 6231 N. 16*^ Street, Philadelphia, PA.

6. Defendant, the United States Postal Service ("USPS"), is a federal government agency
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   maintaining a principal place ofbusiness at 6150 N. Broad Street, Philadelphia, PA 19141.

7. Defendant,the United States of America, is the federal government and maintains its principal

   offices at 10^ & Constitution Avenue NW,Washington, DC 20530.

8. At all times relevant hereto, USPS, acting on behalf of Defendant, the United States of

   America, was a tenant of6150 N. Broad Street, Philadelphia, PA 19141, occupying said

   Premises and, as such, was responsible for maintenance and care ofthe Premises.

9. On or about August 27, 2019, on or about 10:45 P.M., at 6150 N. Broad Street, Philadelphia,

   PA,the Plaintiff was lawfully upon the sidewalk when his feet came into contact with a

   certain dangerous condition resulting fi-om a wire in a missing sidewalk block that caused the

   Plaintiffto get tangled, and thrown fi-om his position and to sustain serious and permanent

   personal injuries hereinafter more fully set forth.(See Exhibit"A")

10. As a result ofthe accident, the Plaintiff has sustained injuries including, but not limited to,

   left ankle strain and sprain, as well as injuries to his muscles, nerves and bones, all of which

   injuries may be permanent or cause a serious and permanent impairment of bodily ftmction.

11. As a fiirther result ofthe accident, the Plaintiff has been in the past and may be in the future

   prevented fi^om attending to his usual activities, duties, and occupations to his great financial

   detriment and loss.


12. As a further result ofthe accident, the Plaintiff has in the past and may in the future be

   caused to suffer from worry, anxiety, apprehension and finstration.

13. As a fiirther result ofthe accident, the Plaintiff has in the past and may in the future suffer

   fi*om humiliation, embarrassment, and degradation.

14. As a further result ofthe accident, the Plaintiff has in the past and may in the future

   experience great physical, mental and emotional pain and suffering and other non-economic
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   losses.


15. As a further result ofthe accident, the Plaintiff has in the past and may in the future be

   caused to suffer loss ofthe pleasures and enjoyments of life.

16. As a further result ofthe accident, the Plaintiff has in the past and may in the future suffer

   loss of earnings and/or earning capacity to his great financial detriment and loss.

17. As a further result ofthe accident, the Plaintiff has in the past incurred and may in the future

   continue to incur medical expenses in an endeavor to treat and cure himself ofthe injuries

   sustained in the aforesaid accident, for which a claim is hereby made.

                                               COUNT I
    STEPHEN HOPKINS V. THE UNITED STATES POSTAL SERVICES("USPS"!


18. The Plaintiff hereby incorporates paragraphs one through seventeen as though same were

   fiilly set forth herein, at length and in full.

19. The Defendant, USPS,owed a duty of care to Plaintiff and violated said duty of care by the

   following negligent and careless acts;

   a. Failure to regard the point, position and safety ofPlaintiff;

   b. Failure to maintain the aforesaid Premises in a safe manner for those lawfully upon said

       premises;

   c. Failure to warn the Plaintiff ofthe aforesaid dangerous condition of which the Defendant

       knew or could and should have known in time to have remedied same;

   d. Failure to properly, adequately, and timely remove the dangerous condition and/or

       otherwise to make the Premises safe;

   e. Failure to anticipate the hazard to which the Plaintiff was exposed to;

   f. Failure to remedy the hazard to ensure the safety ofthose lawfiilly traveling through said

       location, including Plaintiff;
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   g. Failure to barricade and inspect; and

   h. Failure to properly hire, train and/or instruct Defendant's agents, servants, workmen or

       employees.

       WHEREFORE,the Plaintiff demands Judgment against the Defendant in the amount

not in excess of Arbitration limits.

                                               COUNT 11
              STEPHEN HOPKINS V.THE UNITED STATES OF AMERICA


20. The Plaintiff hereby incorporates paragraphs one through nineteen as though same were fiilly

   set forth herein, at length and in fiill.

21. The Defendant, the United States of America, owed a duty ofcare to Plaintiff and violated

   said duty ofcare by the following negligent and careless acts:

   a. Failure to regard the point, position and safety of Plaintiff;

   b. Failure to maintain the aforesaid Premises in a safe manner for those lawfully upon said

       premises;

   c. Failure to warn the Plaintiff ofthe aforesaid dangerous condition of which the Defendant

       knew or could and should have known in time to have remedied same;

   d. Failure to properly, adequately, and timely remove the dangerous condition and/or

       otherwise to make the Premises safe;

   e. Failure to anticipate the hazard to which the Plaintiff was exposed to;

   f. Failure to remedy the hazard to ensure the safety ofthose lawfully traveling through said

       location, including Plaintiff;

   g. Failure to barricade and inspect; and

   h. Failure to properly hire, train and/or instruct Defendant's agents, servants, workmen or

       employees.
         Case 2:22-cv-01930-MSG Document 1 Filed 05/17/22 Page 6 of 9




       WHEREFORE,the Plaintiff demands Judgment against the Defendant in the amount

not in excess of Arbitration limits.




                                              Respectfully Submitted,

                                              MATKOFF,SHENGOLD,BURKE,
                                              BLYWEISS & ARBIXTIER




                                                AVID S. HERMAN,ESQUIRE
         Case 2:22-cv-01930-MSG Document 1 Filed 05/17/22 Page 7 of 9




                                      VERIFICATION




              I, David S. Berman, Esquire, aver that I am the attorney for the Plaintiff,

Stephen Hopkins, in this case, and I verify that the averments contained in the foregoing

pleading are true and correct to the best of my knowledge, information and belief; and

that the statements therein are made subject to the penalties of 18 Pa. C.S., Section

4904, relating to unsworn falsification to authorities.




                                                  DAVID 3. BERMAN, ESQUIRE
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     EXHIBIT
                    w li n
                          A
4/28/2021
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                                                    6160 PA-611 - Google Maps



       G*-^gle Maps                      60 pa-61 ^




                                                                                                      Image capture; Sep 2019   © 2021 Google

            Philadelphia, Pennsylvania

                  Google

            Street View




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